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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION


LESLIE WADE GATES,                           §
             Plaintiff                       §
                                             §                SA-22-CV-00356-XR
-vs-                                         §
                                             §
PENNYMAC LOAN SERVICES, LLC,                 §
           Defendant                         §
                                             §


                                  FINAL JUDGMENT

       This action was considered by the Honorable Xavier Rodriguez, and the following

Judgment is rendered. It is hereby ORDERED, ADJUDGED, and DECREED that:

       Plaintiff Leslie Wade Gates shall take nothing by his claims against PennyMac Loan

Services, LLC, and Plaintiff’s claims DISMISSED WITHOUT PREJUDICE.

       It is so ORDERED.

       SIGNED this 1st day of June, 2022.




                                                 XAVIER RODRIGUEZ
                                                 UNITED STATES DISTRICT JUDGE
